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                  EXHIBIT B-111
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                   IN THE SUPERIOR COURT OF FULTON COUNJ:'Y

                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )      .2022-EX-000024
                                              )
Witness:                                      )      Judge Robert C. I. McBurney
Newton Leroy Gingrich                         )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition ofFani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances ,relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jmy, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in
                                                                             '
           nature in that it was requested for the purpose of investigating ~riminal disruptions
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           related to the 2020 elections in Georgia, and the Special Purpo~e Grand Jury is
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   authorized to make recommendations concerning criminal prosecution. Further, the
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   authority for a special purpose grand jury to conduct a criminal·investigation has been

   upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

   Accordingly, the provisions of the Uniform Act to Secure the Attendance of

   Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

3. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court fmds that Newton Leroy Gingrich, born June

   17, 1943, (hereinafter, "the Witness") is a necessary and material witness to the

   Special Purpose Grand Jury's investigation. The Court further finds that the Witness

   currently resides in Mcclean, Fairfax County, Virginia.

4. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that according to information made

   publicly available by the United States House of Representatives Select Committee to

   Investigate the January 6th Attack on the United States Capitol, the Witness was

   involved, along with others known to be associated with the Trump Campaign, in a

   plan to air television advertisements that "repeated and relied upon false claims about

   fraud in the 2020 election" and "encouraged members of the public to contact their

   state officials and pressure them to challenge and overturn the results of the election"

   based on these false claims. These television advertisements w~re purportedly aired in

   the days leading up to December 14, 2020, when both legitimate and, in several
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   states, non-legitimate electors met to cast electoral college voteJ, and they were

   purportedly personally approved by former President Donald Trump.

5. Based on the representations made.by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that according to information made

   publicly available by the United States House of Representatives Select Committee to

   Investigate the January 6th Attack on the United States Capitol, on or about

   December 8, 2020, the Witness urged the Trump Campaign "to air advertisements

   promoting the false narrative that election workers had smuggled suitcases containing

   fake ballots at the State Farm Arena in Atlanta, Georgia."

6. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that according to information made

   publicly available by the United States House of Representatives Select Committee to

   Investigate the January 6th Attack on the United States Capitol, on or about

   December 8, 2020, the Witness wrote an e-mail to individuals known to be associated

   with the Trump Campaign, stating "The goal is to arouse the country's anger through

   new verifiable information the American people have never seen before[.].· .. Ifwe

   inform the American people in a way they find convincing and it arouses their

   anger[,] they will then bring pressure on legislatures and governors."

7. Based on the representations made by the State in the attached \'Petition for
   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that according to:information made
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      publicly available by the United States House ofRepresentativ~s Select Committee to

      Investigate the January 6th Attack on the United States Capitol,!the Witness was also

      involved in the plan to have Republican electors meet and cast electoral college votes

      in Georgia and other states where President Joseph Biden had been declared the

      winner of the 2020 election. On or about November 12, 2020, the Witness reportedly

      wrote an e-mail to former White House Chief of Staff Mark Meadows and former .

      White House Counsel Pat Cipollone, stating "Is someone in charge of coordinating all •

      the electors? [Randy] Evans makes the point that all the contested electors must meet

      on [D]ecember 14 and send in ballots to force contests which the house would have to

      settle."

8. Based on the representations made by the State in the attached "Petition for

      Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

      O.C.G.A. § 24-13-90 et seq.", the Court fmds that the Witness, based on his

      involvement with individuals known to be associated with the Trump Campaign, is a

      necessary and material witness. The Witness possesses unique knowledge concerning

      the circumstances surrounding public television advertisements relying on false

      claims of election fraud, the meetings· of Republican electors in various states on

      December 14, 2020, and communications between himself, the Trump Campaign, and

      other known and unknown individuals involved in the multi-state, coordinated efforts

      to influence the results of the November 2020 election in Georgia and elsewhere.

      Finally, the Witness's anticipated testimony is essential in that it is likely to reveal
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      additional sources of information regarding the subject of this investigation.
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 9. The testimony of the Witness Willnot be cumulative of any oJe, evidence in this

    matter.

 I 0. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, November 16, 2022, at 9:00 a.m, at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney reasonably

    anticipates that the Witness's testimony will not exceed one day.

 11. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 12. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

 " which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.

 13. The State of Georgia is a participant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
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       14. This Certificate is made for the purpose of being presented to aljudge of the Circuit

           Court of Fairfax County, Virginia, by the Commonwealth's Attbrney for Fairfax
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           County or his duly authorized representative, who is proceeding atthe request and on
                                                                               I
                                                                               I
           behalf of the Office of the Fulton County District Attorney.

      WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,          .                  .

      This the~        day of October, 2022.




                                                     Hbn. Rober C. I. McBurney
                                                     Superior Court of Fulton County
                                                    •Atlanta Judicial Circuit
                                                     State of Georgia
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                     Exhibit A
    Case 1:23-cv-03721-SCJ Document 1-122 Filed 08/21/23 Page 9 of 13




                   IN THE SUPEJRIOR COURT OF FULTON COUNJ;Y
                           ATiLANTAJUD!CIALClRCUIT
                               STATE OF GEORGIA
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                                                                                               LA.JV   -:r- •
                                                              .     l.,.           IN OFFICE

IN RE: REQUEST FOR
       SPECIAL PURJPOSE
                                                                    "--"
                                                                    ,..{·•                         17
       GRA-ND JURY
                                                                   L .• ----·-
                                                                                          t
               ORDER APPROVING REQUEST FOR SPECIAL PURPOSE
               GRAND JURY PURSUANTTO O.C.G.A. ~15-12-100,etseg.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Comt of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that reque:st. Thi:s request was considered and approved by a majority of the total

number of the judges of th.is Court, as required by O.C.G.A. §15-12-IOO(b).

       LT[S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.l, 15-12-67,and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervisingjudge detennines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of1Georgia,as set forth in the request of the District Attorney referenced herein above.

        Pursuant to 0.CG.A. § 15-12-lOl(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jmy, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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              This authorization shall include the investigation of any overt acts o~-
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                                                                                      predicate acts
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relating to the subject of the special purpose grand jury's investigative purpf se. The special

purpose grand jury, when making its presentments and reports, pursuant to 9.c.G.A.§§ 15-12-
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71 and 15-12-10l, may make recommendationsconcerning criminal prosecittion as it shall see
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fit. Furthermore, the provisions of O.C.G.A. § 15-12-83shall apply.                            •

              This Court also notes that the appointment of a special purpose gran4jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of cLiminalmatters that has accumulated as a

result,ofthe COVID-19 Pandemic.
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              IT IS FURTHER O...-~...,D~             this Order shall be filed in the Office of the Clerk of
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                                                   '- \
the Superior Court of Fulto Counto1.~                     '\

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                                                                                   ,2022.




                                      CHRISTOm:BR S. BRASHER';-GHIEFJUDGE
                                      Superior Court of Fulton County
                                      Atlanta Judicial Circuit




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                        ExhibitB                    I
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                       OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                       ATIANTAJUDICLAL
                                                    CIRCUIT                     l   1




                                    136PRYORSTREETSW,3RDFLOOR                   i
                                       ATLANTA,GEORGIA30303                             I
~li    Jl:6)//#1,j                                                                      \ELEPHONE404-612-4639
District Attorney

                                                                                        I

      The Honorable Christopher S. Brasher
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                                                                                tD2-2.·-E.X-DODDf
      Chief Judge, Fulton County Superior Court                                             FILED IN OFFICE
      Fulton County Courthouse                                                                            j) ,
      185 Central Avenue SW, Suite T-8905
      Atlanta, Georgia 30303

      January20, 2022

      Dear Chief Judge Brasher:

      I hope this letter.finds you well and in good spirits. Please be advised that the District Attorney's
      Officehas received infonnation indicating a reasonable probability that the State of Georgia's
      administration of elections in 2020, including the State's election of the President of the United
      States, was subject to possible criminal disruptions. Our office has also learned that individuals
      associated with these disruptions have contacted other agencies empowered.to investigate this
      matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
      States Attorney's Office for the Northern District of Georgia,leaving this office as the sole
      agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
      result, our office has opened an investigation into any coordinated attempts to unlawfully alter
      the outcome of the 2020 elections in this state.

      We have made efforts to interview multiple witnesses and gather evidence. and a significant
      number of witnesses and prospective witnesses have refused to cooperate with the investigation
      absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
      Brad Raffensperger, an essential witness to the investigation,has indicated that he will not
      participate in an interview or otherwise offer evidence until he is presented with a subpoena by
      my office. Please see Exhibit A, attached to this letter.

      Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
      to O.C.G.A. § 15-12-100 et. seq., that a special purpose grandjury be impaneled for the purpose
      of investigating the facts and circumstances relating directly or indirectly to p·ossibleattempts to
      disruptth~ lawful administration of the 2020 elections in the State of Georgia. Specifically, a
      special plllpose grand jury, which will not have the authority to i·eturn an indictment but may
      make recommendations concerning criminal prosecution as it shall see fit, is needed for three
      reasons: first, a special purpose grand jury can be impaneled by the Court for kny time period
      required in order to accomplish its investigation, which will likely exceed a n9rmal grandjury
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          Case 1:23-cv-03721-SCJ Document 1-122 Filed 08/21/23 Page 13 of 13

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     tenn; second, the special purpose grandjury would be empowered to revie:w     thismatter and this
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     matter only, with an investigatory focus appropriate to the complexity of the facts and
     circumstances involved; and third, the sitting grandjury would not be re~uired to attempt to
     address this matter in addition to their normal duties.

     Additionally, I am requesting that, pursuant to O.C.G.A. § 15-12-101, a Fulton County Superior
     Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
     investigation and duties.

     I have attached a proposed order impaneling the special purpose grand jury for the consideration
     of the Court.

   \nespectful~,                I

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'--nistri~t      Attorney, Atlanta Judicial Circuit

     Exhibit A: Transcript of October 31, 2021 episode of lv[eetthe Press on NBC News at 26:04
     (video archived at https:/h,vww.youtube.com/watch?v=B71cBRPgt9k)
     Exhibit B: Proposed Order •

     cc:
     The Honorable Kii-nberly M. Esmond Adams
     The Honorable Jane C. Barwick
     The Honorable Rachelle Carnesdale
     The Honorable Thomas A. Cox, Jr.
     The Honorable Eric Dunaway
     The Honorable Charles M. Eaton, Jr.
     The Honorable Belinda E. Edwards
     The Honorable Kelly Lee Ellerbe
     The Honorable Kevin M. Farmer
     The Honorable Ural Glanville
     The Honorable Shakura L. Ingram
     The Hondrable Rachel R. Krause
     The Honorable Melynee Leftridge
     The Honorable Robert C.I. :tvlcBurney
     The Honorable Henry M. Newkirk
     The Honorable Emily K. Richardson
     The Honorable Craig L. Schwall, Sr.
     The Honorable Paige Reese Whltaker
     The Honorable Shermela J. \.Villiams
     Fulton County Clerk of Superior Court Cathelene ,:Tina" Robinson
